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                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF INDIANA
                                              INDIANAPOLIS DIVISION

            PENDLETON HEIGHTS GAY-STRAIGHT                         )
            ALLIANCE, an unincorporated association,               )
                                                                   )
                                     Plaintiff,                    )
                                                                   )
                             v.                                    )   No. 1:21-cv-02480-JRS-TAB
                                                                   )
            SOUTH MADISON COMMUNITY                                )
            SCHOOL CORPORATION, et al.,                            )
                                                                   )
                                     Defendants.                   )

                                             Declaration of Reece Axel-Adams

                     Reece Axel-Adams, being duly sworn, says that:

            1.       I am 18 years old.

            2.       I attend Pendleton Heights High School, a public school located in Pendleton,

            Indiana.

            3.       The school contains approximately 1400 students in grades 9-12.

            4.       I am currently a senior and I have been in the school since I was a freshman.

            5.       I am familiar with the various clubs that are present in the school.

            6.       I am also familiar with the courses offered at the school.

            7.       The Pendleton Heights High School Student Handbook lists some, but not all the

            clubs or organizations, which are available to the students. I have attached the relevant

            excerpt of the Handbook to this declaration.


                                                             [1]
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            8.       Some of the groups listed, like the foreign language clubs, relate directly to the

            foreign languages taught at the school.

            9.       However, some of the groups listed are not directly related to any courses at the

            school and do not, to the best of my knowledge lead to academic credit for those

            participating. These include Best Buddies, Mat Maids, Outdoor Adventure Club, and

            SADD (“Students Against Destructive Decisions”). These groups meet at the school

            during non-instructional times.

            10.      The student groups listed in the Handbook are able to publicize themselves and

            advertise their existence because they are listed in the Handbook.

            11.      I also believe that the groups listed in the Handbook may post information about

            their meetings on bulletin boards at the school. They may also be mentioned on the

            campus radio station that plays daily announcement through the school. In fact, on

            October 1, 2021, I heard an announcement for Outdoor Adventure Club during daily

            announcements.

            12.      There are also other groups that are not currently listed in the Handbook that are

            allowed to meet at the school during noninstructional time. These include Fellowship of

            Christian Athletes, E-gaming (for electronic game enthusiasts), Robotics (for those who

            are interested in building robots) and Bring Change to Mind (a group that focuses on

            encouraging dialogue about mental health).




                                                             [2]
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            13.      Although the groups listed immediately above are not listed in the Handbook, I

            am aware that at least Fellowship of Christian Athletes, Bring Change to Mind, and E-

            gaming has been allowed to post information about its meetings on school bulletin boards

            and be part of the announcements that are broadcast through the school radio station as

            part of daily announcements.

            14.      I am aware that in the past there was a Gay-Straight Alliance (GSA) at the high

            school, although as of the beginning of this school year it had not met for a while.

            15.      A GSA is designed to allow gay, lesbian, bisexual, transgender, and allied students

            to meet in order to provide social, emotional, and educational support to each other.

            16.      This year I spoke to the Principal of Pendleton Heights High School and received

            permission to restart the Pendleton Height GSA (“PHGSA”).

            17.      The purpose of the PHGSA is to provide social, emotional, and educational

            support to gay, lesbian, bisexual, transgender, and allied students at Pendleton Heights

            High School. It also serves to inform the school community as a whole of the existence of

            gay, lesbian, bisexual, and transgender students and is designed to foster tolerance and

            acceptance of all students regardless of their sexual orientation.

            18.      PHGSA has a faculty sponsor and has met in her classroom after instructional

            time. This has caused no disruption to the school or to the educational environment.

            19.      Although the Principal has allowed PHGSA to meet, she has indicated that the

            group is not an “official” club. As such, the group will not be listed in the Handbook and


                                                             [3]
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            cannot post information about itself and its meetings in the school. Nor can it advertise

            and publicize itself on the school’s radio station.

            20.       The Principal has indicated that all these opportunities are being denied to PHGSA

            because the school needs to remain “neutral” on gay, lesbian, transgender, and related

            issues.

            21.       Given that PHGSA has only recently resumed operations, it needs to be able to

            advertise and get the word out to grow its membership.

            22.       PHGSA fulfills a vitally important role in providing a place of care and community

            for a group of students who often lack such support and to provide them with important

            information at a crucial period of their development.

            23.       The inability of PHGSA to advertise and expose students to its existence and

            beneficial purposes is causing it to have fewer members than it would have if it was given

            the same ability as other clubs to advertise and publicize its existence.

            24.       This inability severely hinders and impedes the basic purpose of PHGSA, to be a

            place of shelter, support, and education, not just for gay, lesbian, transgender, and non-

            binary students, but for all students at the high school.




                                                             [4]
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                                                             Verification

                     I verify under penalty of perjury that the foregoing is true and correct.

            Executed on:10/6/2021 | 10:47
                         ______________            AM EDT




                                                                            ______________________________
                                                                            Reece Axel-Adams

            Prepared by:

            Kenneth J. Falk
            ACLU of Indiana
            1031 E. Washington St.
            Indianapolis, IN 46202




                                                                 [5]
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                  P​ENDLETON​ H​EIGHTS​ H​IGH​ S​CHOOL




                            S​TUDENT​ H​ANDBOOK
                                2020-2021




                                                                                    1
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    the Certifying Scientist feels the quantitative levels determined to be above the established cutoffs do not reflect
    current use but natural decay, then a negative result may be reported.
10. The Certifying Scientist will complete the final review on the drug testing custody and control form and return the
    appropriate copy to the Building Principal in a confidential manner.
PICK-UP PROCESS
The selected laboratory is responsible for seeing that specimens are delivered to or picked up by the testing laboratory
and the Chain of Custody form properly annotated.

                           SECTION 8: EXTRACURRICULAR/ATHLETIC INFORMATION

                                           EXTRACURRICULAR ACTIVITIES
Permission for extracurricular events, meetings, and parties must be obtained and scheduled through the principal to help
avoid conflicts. All extracurricular activities are to appear on the weekly calendar.

                                  EXTRACURRICULAR/ATHLETIC PARTICIPATION
In order for a student to participate in any extracurricular activity or athletic contest he/she ​must be ​in attendance at least
one-half​ ​day on the date of the event or contest. One half day of attendance is defined as three hours or more.
If the student is on a school sponsored field trip he/she is considered in attendance at ​school. Likewise a death in the
immediate family as defined in the attendance policy would not be a violation of this requirement.
                                                    STUDENT DANCES
Dances are held by various organizations during the school year. All dances are to be cleared through the principal’s
office and arrangements made well in advance. After-game dances may be held on Friday and Saturday nights only and
will dismiss at 11:00 P.M. The time for other dances should be scheduled between the hours of 7:00 P.M. and 11:00 P.M.
Before scheduling a dance, each organization must agree to abide by and enforce the following rules:
1. Dances are for students who are currently enrolled in PHHS. Some dances may require a guest to be properly
    registered.
2. Students will be responsible for the actions of their guests.
3. Grade school and junior high school students will not be admitted to high school dances except when in the company
    of their parents who may be acting as sponsors.
4. All students attending will follow the school dress code with the exception of special dances.
5. Any student or guest leaving will leave school grounds and not return during the hours of the dance.
6. Sponsors must provide chaperones and auxiliary police in numbers sufficient to control estimated crowds at dances.
7. Slam dancing is not permitted.

                                ELECTION OF REPRESENTATIVES AND OFFICERS
Class Officers
A student may run for class office by obtaining an application form or petition from the Attendance Office. The petition
must be signed by fifteen classmates. The candidate will be notified if he/she does not meet the qualifications.
Qualifications for Class Officers
1. A candidate must have a scholastic average (GPA) of at least C (5.0).
2. The candidate must be enrolled and a full-time student at the time of the election.
3. The election will be held by ballot and the candidate receiving a plurality will be declared the winner.
4. The candidate shall be required to give a speech to the class. This speech shall not be longer than one minute.
5. Three campaign posters per candidate will be permitted. Posters must be on poster board, with only one name
   appearing on each poster, and approved by the Student Council sponsor.


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6. The candidate shall obtain three teacher references including at least one of the class sponsors. If the two teacher
   references rate the candidate below average, or if the class sponsor rates the candidate below average, the candidate
   may not run for office.
7. The student must be a full-time student during the entire year of his/her office or shall forfeit the office. The sponsor
   and steering committee shall have the power to replace the officer in a manner appropriate to the situation.
Steering Committees
The four class officers are selected in the spring for the following school year. These same officers also assume duties
on the Steering Committee. Three additional students are to be appointed jointly by the class sponsors and newly elected
president soon after the elections are held. The appointment of three at-large members shall be made by the sponsors
who have had the class for the previous school year. Ten (10) students per class will serve as the Class Officer/Steering
Committee.
Student Council
1. Each candidate must have had a scholastic average of at least 5.0 during the preceding year.
2. The student must be a full-time student during the entire year of his/her office or shall forfeit the office. The Student
   Council sponsor shall have the power to replace the member in an appropriate manner.
3. The election will be held by ballot. The two candidates receiving the most votes will serve a two-year term.
4. Each class will have one elected member for every fifty class members.
5. Three campaign posters per candidate will be permitted. Posters must be on poster board with only one name
   appearing on each poster and approved by the Student Council sponsor.
6. The Vice-President of each class will serve as a member and act as a liaison between the student council and his/her
   class steering committee.
7. The officers of Student Council for the following year will be elected in the spring by the current membership before
   class elections are conducted. The officers will be President, Vice-President, Recording Secretary, Corresponding
   Secretary, and Treasurer.

                                           CLUBS AND ORGANIZATIONS
Academic Club
Academic Club members participate in the Hoosier Heritage Conference academic competitions. These competitions
include the Hoosier Spell Bowl and the Academic Super Bowl. Club members work in teams to study and prepare for
conference and regional competition. Teams that qualify participate in state competition.
Art Club
Art Club is open to any student who has completed one year of high school art. The aim of the club is to provide art
students with the opportunity to widen their knowledge and interest in the field. The club takes trips to museums, college
art departments, special exhibits, and other art related activities.
Best Buddies
Best Buddies is the world’s largest organization dedicated to ending the social, physical and economic isolation of the 200
million people with intellectual and developmental disabilities around the world. Best Buddies membership is open to all
students.
Delta Epsilon Phi (German National Honor Society)
The purpose is to recognize high achievement in German language studies. To qualify for membership at Pendleton
Heights High School students must have completed at least three semesters of German, be a junior or senior, and have a
German grade point average of 10.0(A-) throughout their study of German.

Deutscher Verein
German Club’s aims are to provide students, school, and community with opportunities to become acquainted with the
German language and culture. Membership is open to anyone who has taken German or is currently taking German.


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FCCLA (Family, Career, and Community Leaders of America)
Membership is open to any student who has taken or who is currently taking Family and Consumer Science courses. This
national vocational organization empowers young men and women to become leaders by addressing personal, family,
work, and societal issues through family and consumer science education.
FFA - (National FFA Organization)
Membership is limited to those students regularly enrolled in vocational agriculture and who have a satisfactory program
of supervised farm practice. The purpose of the organization is to prepare students for premier leadership, personal
growth, and career success through agricultural education.
Book Club
Book Club is a student book discussion group. Students select book titles to read and then meet for a group discussion
and snacks. Book titles selected in the past include ​The ​DaVinci Code​, ​Beginner’s Luck​, ​The Five People You Will Meet
in Heaven​, and ​It’s Not about the Bike​.
La Societe Honoraire de Francais
La Societe Honoraire de Francais is a National French Honor Society. Its purpose is to recognize those individuals in
French classes that have achieved and maintained high achievement in their class work. To be eligible for membership,
one must complete at least three semesters of French and maintain an A- GPA in French studies. It is also highly
recommended that these students maintain a B- overall GPA.
Le Cercle Francais
The aims of the French Club are to provide students, school, and community with the opportunities to become acquainted
with the French language and culture. Membership is open to anyone who has taken at least one year of French or who
is currently taking French.
Los Amigos Espanoles
The aims of the Spanish Club are to provide students, school, and community with the opportunities to become
acquainted with the Spanish language and culture. Membership is open to anyone who has taken at least one year of
Spanish or who is currently taking Spanish.
Mat Maids
The basic function of Mat Maids is to support wrestling by attending the meets and serving as host/hostesses at all
tournaments. Support is also given to the wrestling team through money-making projects. Many social gatherings are
held to provide opportunity for Mat Maids, wrestlers, parents, and friends to come together for fun.
Muse
The ​Muse is the PHHS literary magazine. Published twice annually, the Muse features student art and writing, which
have been selected for publication by a student committee.
National Beta Club
The National Beta Club is a service-leadership club open to all sophomore, junior, and senior high school students who
maintain a high level of scholarship). Effective school year 2018-19, all candidates must attain and maintain a 9.0
minimum GPA for membership consideration. Beta Club members inducted prior to 2018-19 must maintain an 8.0
minimum GPA. The purpose of this organization is to provide opportunities and experiences enabling students to
demonstrate the ideals of character, achievement, service, and leadership. All students who meet the academic
requirement and who are of good character will be invited to become members. The student accepts membership by the
payment of the national and local membership dues.
National Honor Society
The National Honor Society is an organization for juniors and seniors who are selected for membership based on their
qualities of scholarship, leadership, service, and character as required by the national constitution. Individuals must have,
and must maintain a minimum 10.5 cumulative ​GPA. Seniors in the Class of 2019 will be considered on the 10-point
minimum scale. Effective with the Class of 2020, all candidates must attain and maintain a 10.5 minimum GPA for
membership consideration. Members are selected by a faculty council consisting of five faculty members who are


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selected by the high school principal. Selection is determined by the faculty council based on academic achievement as
shown by the GPA, the candidate’s individual narrative, and input submitted by faculty and staff.
Outdoor Adventure Club
The purpose of Outdoor Adventure Club is to provide students with opportunities for outdoor activities and to promote
physical fitness. Group outings include activities such as camping, horseback riding, canoeing, rock climbing, hiking,
spelunking, and skiing.
Sociedad Honoraria Hispanica
Sociedad Honoraria Hispanica (SHH) is a National Spanish Honor Society. Its purpose is to recognize high achievement
in Spanish and to promote a continuity of interest in Hispanic studies. To qualify for membership in the Captual Quijano
at Pendleton Heights High School, students must have completed at least three semesters of Spanish and must maintain
a 10.0 (A–) GPA throughout their study of Spanish.
Student Council
Student Council is a student government organization. A major responsibility of this organization is planning, organizing,
and supervising Homecoming activities. Student Council members are elected each spring for the following school year.
Each candidate must have a scholastic average of at least 5.0 during the preceding school year. Election is by all-school
ballot, and the two candidates receiving the most votes will serve a two-year term. Each class will have one elected
member for every fifty class members.
SADD
Students Against Destructive Decisions is a student organization that promotes making good choices and a healthy
lifestyle. Students participate in various activities including peer to peer events, trips to the elementary schools to promote
healthy choices and various events in the community and around the state.
WEEM Radio
PHHS is proud to be the only Madison County high school to offer broadcast training classes and its own FM radio
station, 91.7. Students enroll in radio classes and must earn a radio broadcasting license by passing the FCC exam.
Students have the opportunity to be “on the air” in a variety of broadcasting roles.

                         FRATERNITIES, SORORITIES, AND SECRET ORGANIZATIONS
A secret organization cannot be given recognition in any manner. Students are to refrain from manifesting membership or
activity in such organizations. Pendleton Heights High School will sponsor and recognize only those clubs and
organizations which are conducive to the proper growth and development of boys and girls. Membership in
unrecognized, unapproved or unlawful organizations will prevent that student from participating in any activity as a
representative of our school and may lead to the suspension or expulsion of the student.
All clubs and organizations must have a copy of their constitution on file in the principal’s office. Membership cannot be
subject to race, religion, national origin, or sex.

                                                   ATHLETIC COUNCIL
The Athletic Council which is composed of the Superintendent, a local school board representative, the high school
principal, the high school athletic director, high school assistant athletic director, the middle school athletic director, and
three (3) at-large varsity coaches will formulate and recommend policies for conducting the total athletic program to the
Board of School Trustees. This Council also charges the building principals and the athletic directors with the
responsibility of carrying out the policies adopted by the board and the rules and regulations of the IHSAA.

                                     ATHLETIC DEPARTMENT CONDUCT CODE
Students participating in the athletic program, at any level, are required to abide by the rules and regulations established
for all students. In addition, student athletes will be provided with a written copy of their respective coach’s rules and


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